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EXHIBIT L

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1
IN THE UNITED STATES DISTRICT COURT 1 DEPOSI`|'[ON OF TRICIA CORRADOl
FOR THE WESTERN DISTRICl' OF PENNSYLVANIA a witness, called by the P|aintiff for examination,
2 in accordance wlth the Federa| Rules of Civi|
- - - - Procedure, taken by and before Beth E. Welsh, a Court
3 Reporter and Notary Pub|ic in and for the
JEAN LAWNICZAKl as Persona| ) Commonwea|th of Pennsy|vania, at the offices of
Representative of the ESTATE ) 4 LAW OFFICES OF JOEL SANSONE, Two Gateway Center,
OF JOHN ORLANDO, Deceased, ) 603 Stanwix Street, Suite 1290, Pittsburgh,
) 5 Pennsylvania, on Friday, May 25, 2018, commencing at
Plaintlff, ) Civi| 2:24 p.m.
) Action No 6
-vs- ) 2217-cv-001 - - - -
) 85 7
ALLEGHENY COUNTY, et a|., ) 8 APPEARANCES:
)
Defendants. ) FOR THE PLAINHFF:
9
Massimo A. Terzigr\il Esqulre
10 terzignlm@gmai|.corn
LAW OFFICES OF JOEL SANSONE
» - - - 11 Two Gateway Center
603 Stanwix Street
DEPosmoN oF: TRICIA cORRADO 12 suite 1290
Pittsburgh, PA 15222
- - - - 13 412.281.9194
14 FOR THE DEFENDANTS:
15 John A. Elacharach, Esquire
DATE: May 25, 2018 john.bacharach@alleghenycounty.us
Friday, 2:24 p.m. 16 A|iegheny County Law Departrnent
300 Fort Pitt Commons Building
LOCAT'ION: LAW OFFICES OF JOEL SANSONE 17 445 Fort Pitt Bou|evard
Two Gateway Center Pittsburgh, PA 15219
603 Stanwix Street 18 412.350.1150
Suite 1290
Pittsburgh, PA 15222 19
TAKEN BY: Plaintiff 20
REPORTED BY: Beth E. We|sh 21
Notary Public
QCR Reference No. BW2908 22
23
24
25
3
1 TRICIA CORRADO,
2 having been duly sworn,
* 1 N D E x * 3 was examined and testified as follows:
Examination by Mr. Terzigni .......... 4 4 - - - ~
Examination by Mr. Bacharach ......... 51
Re-Examination by Mr. Terzigni ........ 54 5 EXAMINATION
Certificate of Court Reporter ......... 60 6 - - - -
Errata Sheet ................. 61
Notice of Non-Waiver of Signature ....... 62 7 BY MR. TERZIGNI:
8 Q. ls it Ms. Corrado?
* INDEX OF EXHIBITS * 9 A. YES.
Deposition Exhibit 1 ............. 29 10 Q. Have you ever been deposed before?
Deposltion Exhibit 2 . . 33
Deposition Exhibit 3 ............. 40 11 A. Ol`lCe.
12 Q. 50 you know how these things go?
13 A. General|y, yeah.
14 Q. Okay. I just ask that you walt until I finish
15 asking the question before you start to answer.
16 A. O|<ay.
17 Q. And if you need a break at any time, just let me
18 know. If there's a question pending, I‘ll
19 probably ask you to answer the question before
20 we take the break.
21 A. Ol<ay.
22 Q. Did you review anything in preparation of this
23 deposition?
24 A. I no longer work at the jai|, no.
25 Q. Any documentation, reports, the Complaint in the

 

 

 

 

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kDCQ\|O\LH-PLGN|-\

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case? 5 1 A. Canonsburg General Hospital in the ICU.
A. Wellr I got the Subpoena. 2 Q. How long did you work at Canonsburg General
Q. Okay. But you didn’t review any -- maybe a 3 Hospltal?
report that you did in the case? 4 A. Not long. I don't think it was a full year.
A. Oh, this (indicating), yes. 5 Q. That's fine, I don't need the exact dates.
Q. You reviewed that report? 6 A. Less than a year. They were calling me off all
A. Yes. 7 the time.
Q. Okay. You just testified that you no longer 8 Q. Where did you work before Canonsburg?
work for ACJ; correct? 9 A. Jefferson Hospita| ER.
A. Correct. 10 Q. How long did you work at Jefferson Hospital?
Q. When were you hired at ACJ? 11 A. Seven years.
A. November of 2015, but I don't remember the exact 12 Q. Were you in the ER the entire seven years?
date. 13 A. For the last two and then the first five I was
Q. Now, were you employed by Corizon before? 14 upstairs on the floors.
A. No. 15 Q. Where did you go to schoo|?
Q. 50 you were hired in November of 2015; correct? 16 A. CCAC South.
A. Correct. 17 Q. Was that both for undergrad and nursing?
Q. When did you leave Allegheny County Jail? 18 A. Yes.
A. I |eh April of 2017. 19 Q. Did you get any specialized certificates alter
Q. Did you leave voluntari|y? 20 graduating with a nursing degree?
A. Yes. 21 A. Well, just my -- I had a PALS and an ACLS and a
Q. Why did you leave? 22 BLS.
A. I went to an agency. I had control over my 23 Q. Any other graduate degree?
schedu|e. 24 A. No.
Q. Where did you work prior to working at ACJ? 25 When did you graduated from CCAC?
7
A. 1999. 1 a suicide gown.
Q. Was Allegheny County Jail the first jail that 2 Q. Was there any other training?
you worked at? 3 A. I was part of no formal class or orientation of
A. ‘(es. 4 just suicide.
Q. Who was your supervisor? 5 Q. Are you familiar wlth Allegheny County Jai|'s
A. Mollke Green. 6 suicide prevention policy?
Q. What was Mo|ike Green's title? 7 A. Are you referring to like the steps that they
A. He‘s an RN. He was the DON there. 8 take?
Q. What does DON stand for? 9 Q. They have an actual written policy and they did
A. Oh, director of nursing. 10 have one at the time in March of 2016. I'm
Q. What was your title at ACJ? 11 asking lf you're familiar with that policy?
A. I was an RN. 12 A. I don't recall it.
Q. Just a nurse? 13 Q. I believe you testified to this, but you did not
A. Yeah. Well, at this time. In May I became 14 receive any formal training regarding that
assistant director of nursing. 15 policy; correct?
Q. Okay. And when you say at this time? 16 A. Correct.
A. At the time of this. 17 Q. Were you trained regarding warning signs of
Q. Of the incident here? 18 suicide?
A. Yeah. 19 A. No.
Q. March 2016? 20 Q. Were you trained in risks of alcohol or drug
A. Correct. 21 withdraw?
Q. Were you trained in suicide prevention at ACJ? 22 A. Just what I know from nursing, but not by
A. Well, I mean I know that if they said they Were 23 Allegheny County Jail.
going to -- if they made comments that they were 24 Q. Did you receive any specialized training from
going to harm themselves, they were to be put in 25 Allegheny County Jail?

 

 

 

 

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10
No. g 1 you feel like you want to harm yourself or
While you were employed at ACJ, and I'll talk 2 others, are you on any medications, what medical
specifically March 2016, were you responsible 3 disorders do you have, and then we were supposed
for inmate intake? 4 to observe them for any visible wounds.
Well, yes. 5 Q. The questions that you just llsted, was that the
You said well, yes. Was that your primary 6 extent of the questioning?
function? 7 Yes.
IfI was assigned to intake on that shin:, then, 8 Q. You also said you would observe them for visible
yes, I was to ask the questions. 9 wounds; correct?
Do you recall that process, the intake process 10 A. Yes.
at the Allegheny County Jail? 11 Q. Was there any other physical examination?
Yes. 12 A. No.
I'm referring just to your role in that process 13 Q. When an inmate would answer one of those
as a nurse, okay? 14 questions in the affirmative, what response, if
Okay. 15 any, would you have?
Can you walk me through that process that you 16 A. If it was a pregnant female and they said yes to
would go through when an inmate would come in, 17 detoxing, they had to go to West Penn Hospita|.
what your role would be? 18 If it was suicide, then the COs took them in the
I would receive a phone call from one of the COs 19 showers and put them in a suicide gown.
in the front saying there was one at the door, 20 Q. If an inmate answered the question -- I'm sorry,
which would tell me that a new person has 21 what was the question regarding suicide that you
arrived. 50 l would go out with my clipboard 22 would ask?
and we had a series of questions to ask, have 23 A. Do you feel like you want to harm yourself or
you ever been in jail before, are you pregnant, 24 others?
are you detoxing from any drugs or alcohoi, do 25 Q. So if an inmate answers that question yes, would

11 12

you then refer that inmate to somebody else? 1 Q. What do you remember of him?
Not at that time because they -- they weren't 2 A. I remember checking his restraint straps, I
fully -~ I don't know the wording, then weren't 3 remember him -- he was upset. I believe he said
fully ours yet, we just had to keep them safe. 4 that he actually wanted all of us to actually
The way I understood it we couldn’t really treat 5 come to harm.
them because the judge might see them and 6 Q. Do you recall the specific statement?
release them. They weren't arraigned yet. 7 A. I probably wrote it down if I can look at this.
Okay. So there is no response in that situation 8 Q. We're going to talk about that,
until the inmate is arraigned? 9 A. Okay. I believe he said I hope you all die in
Correct. I mean other than to put them in a 10 here.
suicide gown and keep them visibie, yeah. 11 Q. When you hear a statement like that, is that an
That was my question. Who would you talk to to 12 indication of a possible suicide risk?
have an inmate placed in a suicide gown? 13 l mean, 1 -- yes.
The COs are standing right there and the minute 14 Q. Do you recall anything else about Mr. Or|ando
he or she says yes to that question, the COs 15 that day?
take it from there. 16 A. Not really. I just checked the straps.
Okay. So do you have to say anything to the 17 Q. That's it?
COs? 18 A. ¥es.
I do not. 19 Q. That day, and the day I'm referring to is
When a new inmate is coming in, are you usually 20 March 24th, 2016 --
there at the door before that inmate gets there? 21 A. Okay.
No. 22 Q. -- is the day Mr. Orlando arrived at Allegheny
Okay. Do you recall an incident occurring with 23 County Jail.
Mr. John Orlando in March of 2016? 24 I believe so, yes.

I do remember him.

 

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When you first saw Mr. Orlando was he already in

 

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1
the restraint chair? 3 1 that you mentioned earlier; right? 14

A. Yes. 2 THE WITNESS: Yes.

Q. Did you see Mr. Or|ando being placed in the 3 BY MR. TERZIGNI:
chair at all? 4 Q. Did you ask Mr. Or|ando all of those questions?

A. No. 5 A. Yes. I don't think he answered the medical

Q. You mentioned that you checked the straps on the 6 problem question, ifI remember correctly.
restraint chair. 7 Q. I'm sorry, you mentioned the medical problem

A. Yes. 8 question?

Q. Is that in accordance with a certain policy the 9 A. Yeah, the last question is do you have any
jail had? 10 medical issues.

A. ¥es, they just like us to make sure we can get 11 Q. And you're saying he did not respond to that
fingers under there. 12 question?

Q. And that has to be performed by medical 13 A. I don't recall him answering that question.
personnel? 14 Q. Did he respond to the question -~ I'm sorry, can

A. ‘(es. 15 you repeat again the suicide one, do you feel --

Q. You checked Mr. Or|ando's straps, was there any 16 A. Do you feel like you want to harm yourself or
problems with the straps? 17 others?

A. No. 18 Q. Did he answer that question?

Q. Did you go through the intake procedure with 19 A. ves.

Mr. Or|ando? 20 Q. What did he say?

A. Yes. 21 A. He said something along the line that he hoped

Q. Was that while Mr. Or|ando was in the restraint 22 we a`ll died in there.
chair? 23 Q. Did he say anything about himself, that he hoped

A. Yes. 24 he"ciied in there?

MR. BACHARACH: This was the questions 25 A. No,‘rl don't think he said specifically himself,
15 i 16
but he said we all, so. 1 front cell to be observed. So, I mean, in the

Q. You took that to include himself? 2 intake department l mean it was done.

A. ¥es. 3 l l5verything that could be done was done. Are you

Q. Did you ask him a question regarding detoxlng 4 _,saying like if an inmate came up to me and said
from drugs or alcohol? 5 \I feel like I want to harm myself?

A. Yes. I believe he said Benzos, like Klonopin or 6 Q. I'm saying in just that intake process, a new
Xanax. 7 inmate comes in and maybe answers a few of the

Q. What medical risks are created by withdrawing 8 questions in a suspicious manner or something,
from Benzos. Just so the redord’s clear, that's 9 but something that would give you cause to think
Benzodlazepines? 10 that they were potentially at risk for suicide,

A. Yes. 11 did you have the authority to place that person

Q. Okay. 12 in suicide watch?

A. Well, you're going to feel slck, you're probably 13 MR. BACHARACH: I'm going to object to
going to throw up, get sweaty, agitated, mad, 14 the form of the question. You can answer it if
possibly you could have a seizure. 15 you understand it.

Q. Was there anything else that stuck out to you 16 BY MR. TERZIGNI:
during that intake process with Mr. Orlando? 17 Q. ' Do you understand the question?

A. No. 18 A. Well, I mean if they answered the question --

Q. Besides the already eventful situation? 19 are you saying if they’re a little vague?

A. Correct, yes. 20 Q. At the conclusion of the intake process did you

Q. As the medical intake person, did you have the 21 have the authority to recommend somebody be
ability to place somebody on suicide watch? 22 placed in suicide watch?

A. If they said yes to that question, like I said, 23 A. They would have to indicate that they wanted to
the COs would take them and put them in a 24 harm themselvesl
suicide gown and then they would put them in the 25 Q. Okay.

 

 

 

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17
A. They would have to indicate. I couldn'tjust 1 hour of taking this action and the psychiatrist 18
randomly point out someone and say I want that 2 or mental health practitioner or physician
person in there. 3 assistant shall conduct a face-to-face interview
Q. I hope that wouldn't happen, but if there was 4 with the inmate within twenty-four hours.
somebody that said I want to harm myself and, 5 50 my question is did you have the
you know, maybe got the suicide gown, would you 6 authority to recommend an inmate on suicide
have the authority to recommend that person be 7 watch or suicide precaution?
placed in suicide watch? 8 A. Not as I understand that. I didn't have a
MR. BACHARACH: I'm going to object to 9 physician -- not as I understand what you just
the form. I think the problem is you're 10 read.
referring to suicide watch, and I don't know 11 Q. Did you have the authority to place an inmate in
exactly what that meahs. l think she said if 12 any type of different housing --
somebody threatens suicide they explained what 13 A. Oh, no.
would occur at her level at that time. 14 Q. Okay.
BY MR. TERZ!GNI: 15 A. No. I‘m sorry. That actually got through to
Q. I am reading Sectlon 13 of Allegheny County 16 me. No, I did not have authority to put him in
Bureau of Correct|ons Suicide Behavior Detectlon 17 any kind of different housing.
and Prevention Policy. This section is titled 18 Q. After Mr. Or|ando's intake did you recommend
Suicide Watch and Suicide Precautlon, 5ection 19 that he be placed on suicide precautions?
13A, a physician qualihed mental health 20 A. He was already in the chair, which means he was
professional may place an inmate on close 21 put in a front cell. He was already on suicide
observation or suicide precaution. The 22 precautions at that time because that's -- if
referring provider shall consult with the 23 they can't get you in a suicide gown -- let's
on-cail psychiatrist, physician or mental health 24 say you go to jail and you say something and you
practitioner, physician assistant within one 25 refuse to go ln a gown, then you go ln a chair.
19 j
He was already on the precautionsl 1 Q. I hope it isn’t.
Q. Do you know if they attempted to put him in a 2 A. l doubt it.
gown? 3 Q. Do you know if it's longer than eight hours?
A. I do not. I wasn't out there. He was already 4 A. 1 can tell you that I've never seen anyone stay
in the -- l l 5 ln a chair eight hours.
MR. BAC_HARAQH: ¥ou meant already ln 6 Q. What's the longest you‘ve ever seen somebody
the chair; right?" ’ ` " z ` ' h v 7 stay in a chair?
l THE WITNES_S`:' Yeah. What did I say? 8 A. Usually a couple hours.
MR. BACHARACH;. ‘fou just said already 9 Q. Now, in Mr. Orlando’s situation after he was
in the -- ' ' --" ’ 10 removed from the chair, should he have been
THE WITNESS: Oh, okay. In the chair. 11 placed in a suicide gown based on those
I'm sorry. 12 questions?
Bv MR. TERZIGNI: 13 A. I mean, I wasn't there when he was removed from
Q. l imagine that an inmate could stay in a gown 14 the chair. I don't know if somebody asked him
longer than he could stay in a restraint chair; 15 the questions again and what he answered at that
correct? 16 point, I don't know. I don't know.
A. Yes. 17 Q. Let's even say if it was eight hours later that
Q. Do you know how long an inmate can stay in a 18 Mr. Orlando was released from the restraint
restraint chair? 19 chair, would his responses to your questions
A. I don't recall the exact amount. I know at a 20 earlier still put him at risk or at least
certain point they call a captain down, butI 21 indicate that he may be at risk for suicide?
can't tell you the exact hour. 22 MR. BACHARACH: I'm going to object to
Q. Do you know if it's longer than twenty-four 23 the form of the question. I think it's
hours? 24 hypothetica|, but you can answer if you can,
A. Longer than twenty-four? I doubt it. 25 it's up to you, if you understand it.

 

 

 

 

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21 22
BY MR. TERZIGNI: 1 MR. TERZIGNI: During his
A. l think it's a matter of -- it's a matter of 2 incarceration.
judgment. I don't know how he was when he came 3 MR. BACHARACH: During his entire
out of the restraint chair, I don't know. I 4 incarceration?
don't know how he was when he came out of the 5 MR. TERZIGNI: Yes.
restraint chair. I've seen people come in livid 6 MR. BACHARACH: She can answer. I
and saying things and then turn around and be 7 think it's beyond her -- she can answer without
perfectly fine, I don't know. I honestly don't 8 speculating.
know. I wasn't there when he came out. I don't 9 Bv MR. TERzIGNI:
even know how long he was in the chair. 10 Q. In your professional opinion?
Q. His responses to those questions -- 11 A. 1 --
A. To my questions? 12 MR. BACHARACH: Go ahead. ¥ou can
Q. To your questions, would you say that his 13 answer.
response to the question do you feel as if 14 MR. TERZIGNI: She can answer.
you're a harm to yourself or others, do I have 15 MR. BACHARACH: I, again, object to
that right? 16 that.
A. ‘(es. I mean when he answered my questions, yes, 17 BY MR. TERZIGNI:
I felt he was a harm to himself. ' 18 A. I mean he went -- I have to assume at some point
Q. When he answered that question he gave; is it 19 he was interviewed and someone -- yes.
fair to say, a strong response to that question? 20 Q. Did you have the ability based on the intake
A. Yes. 21 process to recommend an inmate to a mental
Q. Would that response alone warrant him to be kept 22 health physician?
a close eye on medically? 23 A. No.
MR. BACHARACH: I object to the form. 24 Q. Are there mental health nurses or physicians
At what point in time? ." t 25 employed by Allegheny County Jail?
as
: c 23 z
Yes. 1 A. Because I had no -- I had no medical reason at
Q. Did you work with those people during the course 2 that point to refuse him.
of your employment? 3 Q. What does that mean to refuse him?
A. Yes. `E 4 A. He didn't have a head wound, he didn't complain
Q. In what capacity? ; 5 of chest pain, he didn't have any bites, he
A. IfI was working upstairs. 6 didn't have marks on him, there was no medical
Q. What does that mean? 3 ` 7 reason to refuse him,
A. Like on the floors, not in intake. IfI was 8 Q. And you mean physical medical reason to refuse
stationed in the medical housin unlt, I would 9 him?
see them then. 1 l 10 A. Correct.
Q. I'm sorry, did you say the medical housing unit? 11 Q. What do you mean by refuse him?
A. The iniirmary. n 12 A. Meaning I would say that we can't accept this
Q. But as far as intake goes, you wouldn't be able 13 inmate, you have to take him to a hospital.
to refer an inmate to a mental health nurse or 14 Q. Okay. Did you ever refuse an inmate for mental
physician? 15 health concerns?
A. No. 16 A. No.
Q. Do you know whose responsibility that was? 17 Q. Did you have the ability to refuse an inmate for
A. You get referred _to the better health 18 mental health concerns?
speciallst. Once you get into the back and you 19 A. No.
answer all your three-page questions and then 20 Q. Do you know why that is?
you see the mental health specialist who 21 A. Because -- actually, no.
evaluates you and then it proceeds from there. 22 Q. Would you say that Mr. Orlando was in severe
Q. Did you clear Mr. Orlahdo medically? 23 mental distress when he was in the intake
A. Well, yes. 24 process?
Q. Why did you clear him medically? 25 A. He was angry, so yes.

 

 

 

 

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2

1 Q. When you're interviewing an inmate, do you have 5 1 Yes. 26
2 the ability to look at their medical history at 2 There were a few written questions, I'm going
3 all? 3 to go to question Number 2. Please identify

4 A_ NO_ 4 whether you came into contact with, spoke with n
5 Q. So all of the information you receive in the 5 and/or heard the plaintiffs decedent, John

6 intake process is from firsthand interaction 6 Orlando, on March 24th, 2016 at the Allegheny
7 with the inmate? 7 County Jail. If the answer is yes, please

8 A. Yes. 8 describe your interaction with Mr. Or|ando in

9 Q. Did you hear from either a coworker or 9 detail.

10 Mr. Orlando himself, a comment that he wanted to 10 You responded I believe I asked him intake
11 hang himself? 11 questions at the door upon his arrival.

12 A. No. 12 In question 4 you answered and it was the
13 Were you working on March 29th, 2016, the clay 13 question regarding Mr. Or|ando's statement that
14 Mr. Orl`ando hung himself? 14 he wanted to harm himself, but you responded
15 A. I honestly don't know. 15 Mr. Or|ando was placed into a restraint chair by
16 Q. Do you recall if you responded to that incident? 16 correctional staff prior to my interaction with

17 A. No. 1 would remember ian had responded to the 17 him.

18 incident l:' 18 I just wanted to clarify between the

19 Q. "1n your employment at ACJ did you ever have to 19 responses of those two questions, okay. 50 the
20 respond to a hanging? 20 first one was 1 believe 1 asked him intake

21 A. No. ` 21 ;questions when he arrived at the door.

22 Q. Do you recall answering some questions that we 22 I see where you're --

23 sent to Mr. Bacharach -- 23 And then the other one is you asked him -- or
24 A. Yes. 24 you came into contact with him after he was in
25 Q. -- thatl believe he passed on to you? 25 the restraint chair.

1 V 27 zs
_1 A. l see where you're going. Ilehould have been 1 Okay. 50 you didn't come into contact with

2 more specific When 1 say atthe door -- 2 Mr. Or|ando until he was already in the
d 3 because there's a little sally port area. 3 restraint chair?

4 Q. Okay. l 4 Correct.

5 A. That's where the police bring rim in. 1 am not 5 And 1 believe you testified that he was already
6 allowed in there. And then wren they call me 6 fully placed in the chair by the time you came

7 and say there's a person at the door, the person 7 in contact with him?

8 is already here out of that sally port. 8 Yes.

9 Q. Okay. 9 In question 5 we asked if you had any other

10 A. So they call this at the door. 10 interactions with Mr. Orlando during his

11 Q. Okay. 11 incarceration from March 24th to March 29th,
12 A. I was not in the sally port when he was first 12 2016. You answered that you didn't recall

13 brought in because they don't let nedical staff 13 having any interactions with him.

14 in there. 14 No, 1 really don't think that I did.

15 Q- MY interpretation Of VOUF feSDDHS€ \'as that you 15 Okay. In question 6 we ask if you were ever

16 were there prior to him being piaced n the 16 questioned as part of an investigation into this
17 restraint chair. 17 incident about Mr. Or|ando, and you answered you
18 A. No, that is not at all how it was. 1 useca 18 don't recall.

19 term that ifl was talking to another none in 19 I don't recall being questioned by or spoken to
20 the jail, they would have known what I meant, 20 by anybody.

21 and I shouldn't have done that. 21 I'm going to ask you to give that piece of paper
22 Q. That's finer just for my clarification iwant to 22 to Mr. Bacharach just so we don't get confused
23 know if it was two separate instance or just, 23 here or so 1 don't get confused

24 you know, all the same? 24 MR. BACHARACH: ¥ou and the United
25 A. It was all the same. 25 States representative for the United Nat|ons.

 

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2 0
MR. TERZIGNI: Yes, exactly. 9 1 10:25 p.m. There's a question here that says 3
- - - - 2 where did it happen, intake. There's also a
(Deposition Exhibit No. 1 was marked 3 question at the top who is involved, it says
for identification.) 4 N/CT John Orlanclo.
- - ~ » 5 What does that mean N/C'l'?
BY MR. TERZIGNI: 6 A. 1 think that is CO speak for new court.
Q. Ms. Corrado, take your time, read that over and 7 Q. There's a section here what happened, and it
just let me know when you're done. 8 states on the above date and approximate time
- - - - 9 Mi|lvale Police brought N/CT John Orlando in who
(Whereupon, the witness reviewed the 10 was very agitated and appeared to be under the
document.) 11 influence. When the N/Cl' entered the sally port
- - - - 12 he started to say that he was going to fight
BY MR. TERZIGNI: 13 anybody and he was on crystal meth.
A. I~- 14 MR. BACHARACH: Crystal myth.
Q. I’ll ask you some questions about it. Did you 15 BY MR. TERzlGNl:
have a chance to read through this document that 16 Q. 1 think myth should be M-E-T-H.
was just handed to you? 17 A. lt should be meth.
A. Yes. 18 Q. The Mi|lvale Police brought it to my attention
Q. It's been marked as Exhlblt 1. It is a County 19 that he also stated that he wanted to hang
of Allegheny 1ncident Report. Are you familiar 20 himself.
with these documents in general? 21 Was that information ever relayed to you?
A. ‘(es. 22 A. No.
Q. Have you ever read this specific one? 23 Q. Now this report was written by CO Marguerite
A. No. 24 Bonenberger?
Q. This one is dated March 24th, 2016, the time is 25 A. Bonenberger, yes.
31 32
Q. Are you familiar with Ms. Bonenberger? 1 further incident.
A. l am. 2 Do you know what H-9 means?
Q. Do you recall her being present that night when 3 A. It's the cell directly in front of the -- where
you did the intake process with Mr. Or|ando? 4 the COs sit at the desk.
A. 1 mean we tended to work the same shifts, but 1 5 Q. Is that a suicide precaution cell?
don't recall specifically who all was there. 6 A. ¥es. Well, that's where they put anyone that's
Q. That night did anybody tell you that there was a 7 either in a gown or in a chair so they can have
statement made that Mr. Orlando was high on 8 a direct visual of them.
crystal meth? 9 Q. Are there other places in the jail for suicide
A. No. Crystal meth -- this is the first time I'm 10 precaution or suicide observation?
even hearing crystal meth. No, I never heard 11 A. Well, once you're arraigned and whatever, you go
that. 12 to -- is it 5-C? It's on the fili:h floor. If
Q. The last sentence of the narrative portion says 13 you're a male, you go on the fifth fioor, and if
all assisting officers placed the N/CT in the 14 you're a fema|e, you go to 5-MD 1 think.
Chair and his restraints were checked for 15 Q. And what's on the fifth floor?
tightness by the intake nurse. 16 A. The mental housing unit, the lnnrmary and then
Do you know if that's you? 17 there's a -- like a middle level where the
A. Yes. 18 females -- they don't put the females and the
Q. Was there any other nurses there that night? 19 males in the same area.
A. 1 mean yes. They just weren't there there. 1 20 Q. Is the detox unit included in that area?
think they were in the back. 21 A. ¥ou can't be detoxing and in the mental health.
Q. I mean any nurses actively assisting or involved 22 Q. I asked a different question. There is a detox
in the scene? 23 unit; correct?
A. No. 24 A. Ves, that's on 4.
Q. It says he was then placed in H-9 without 25 Q. 50 that's in a different area?

 

 

 

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33 34

A. Correcth 1 occurrence

~ ~ - - 2 MR. BACHARACH: What's it begin wlth?
(Deposition Exhibit No. 2 was marked 3 MR. TERZIGNI: N/A Or|ando's straps.
for identification, and the witness reviewed the 4 MR. BACHARACH: Okay.
document.) 5 BY MR. TERZIGNI:
- - - - 6 Q. Do you see where that is?

sY MR. TERZIGNI: 7 A. Okay.

Q. Did you have a chance to look through this 8 MR. BACHARACH: (Indicating.)
document? 9 BY MR. TERZIGNI:

A. Yes. 10 Q. This sentence says N/A Orlando's straps were

Q. It has been marked Exhibit 2. lt is a County of 11 then checked for tightness by intake medical
Allegheny Bureau of Corrections Employee Report 12 staff and he was medically cleared.
of Incident. I'll ask you the same question 13 My first question is the intake medical
that I asked you with the other document, are 14 staff here, was that just you?
you familiar with this form in general? 15 A. That was just me.

A. No. 16 Q. Okay. What does it mean to be medically cleared

Q. You‘ve never seen this form before? 17 in the context of this sentence?

A. Correct. 18 A. 1t means that his straps were okay, they weren't

Q. So 1 take it specifically this form you've never 19 too tight and thatl asked him the questions.
read it? 20 Q. Can an inmate be medically cleared and also on
I've never read it. 21 suicide precautions?

Okay. This one is dated March 24th, 2016, the 22 A. Yes.
hours of 2230. I'm going to direct your 23 Q. Is that what happened here?
attention to the third to last sentence in the 24 A. Yes, he was put in a restraint chair.
Section 1, detailed description of the 25 Q. Again, when you're saying medically cleared, do
35 36
you mean just physically medically cleared? 1 Q. Do you want the question to be repeated?

A. Correct. 2 A. ¥es, please.

Q. When 1 asked you what does it mean to be 3 MR. TERZIGNI: Beth, could you read it
medically cleared you said that you checked the 4 back?
straps? 5 ~ - - -

A. Yes. 6 (Whereupon, the record was read back

Q. And also that you asked him the questions? 7 by the court reporter.)

A. ¥es. 8 - - - -

Q. He answered some of those questions in the 9 MR. BACHARACH: 1f you don't -- if you
affirmative, especially the one having to do 10 understand the question, you can answer it. If
with suicide saying we're all going to die in 11 you don't understand it, then you can say you
here; correct? 12 don't understand it or if you just don't know,

A. ‘/es. 13 you can say I don't know. You can answer it,

Q. Even with that answer he was able to be 14 just don't guess or speculate, if you understand
medically cleared? 15 it. It's not a crime -- you know, it's not a

A. Yes. 16 crime to say you don‘t understand lt.

Q. So did the responses to the question have 17 MR. TERZIGNI'. All right, all right,
anything to do with an inmate being medically 18 that's enough.
cleared? 19 BY MR. TERZIGNI:

MR. BACHARACH: I'm going to object to 20 A. Well, the answers to the questions led us to
the form of the question. If understand it, you 21 know that he needed to be kept safe and he -- 1
can answer it. 22 mean there was no injury. That's supposed to be

BY MR. TERZIGNI: 23 their opportunity to tell us what they need.

A. 1 don't actually. I'm not sure what -- are you 24 That's the whole point of asking the questions,
asking me why we ask the questions? 25 Q. What did Mr. Or|ando need by his response of

 

 

 

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7
we're all going to die? 3 1 about whether you are detoxing? 38
A. At that moment he needed to be kept safe from 2 A. Yes.
harm. 3 Q. If an inmate answers that question yes, can they
Q. I'm struggling to understand how somebody in 4 be medically cleared?
that condition can be also medically cleared, 5 A. As long as they're not a female and pregnant.
Can you help me understand that? 6 Q. What if ah inmate ls having active withdraws?
A. I don't know. 7 A. I've refused alcohol withdraw, so yes.
Q. 50 in answer to that question, do you feel like 8 Q. What did you observe that caused you to refuse
you're a harm to yourself or others, an answer 9 an alcohol withdraw?
in the affirmative or the negative doesn‘t 10 A. If they come in the door and they're already --
affect the designation that an inmate could be 11 Q. Shaking.
medically cleared? 12 A. -- shaking and their eyes are kind of bugged out
A. No, it doesn't. 13 and they can't -- that's pretty much what you
Q. Any of the other questions that you listed 14 can see, and they tell me that they're -- well,
earlier as being part of the intake process, do 15 usually you can tell just by looking, but they
the responses to those questions have an affect 16 tell me that they're on alcoho|.
on the designation of being medically cleared? 17 Q. I'm going to direct you to the top of the second
A. In you're a pregnant female -- if you tell us 18 page of Exhibit 2. There's a section actions
you're pregnant and detoxing, that will get you 19 taken, it says New Arrest Or|ando was making
sent to West Penn. 20 threats of hurting himself and other people.
Q. Okay. 21 Do you see that?
A. If you tell me you have an injury somewhere, an 22 A. Yes.
open wound or if 1 visibly see something, that 23 Q. Do you see where it says New Arrest made
will get you sent to the hospital. 24 statements of killing himself while in the
Q. I forget, was there a question specifically 25 arresting officer's custody?
39 40
A. Well, he -- like 1 said, he didn't say 1 to the question.
specifically that he was going to kill himself 2 - - - -
in front of me. 3 (Deposition Exhibit No. 3 was marked
Q. My question was going to be -- 4 for identification, and the witness reviewed the
A. I'm sorry. 5 document.)
Q. -- did anybody make you aware of that 6 - - - -
statement -- 7 BY MR. TERZIGNI:
A. No. 8 Q. Ma'am, have you had a chance to review this
Q. -- at any point? 9 document?
A. (Shaking head from side to side.) 10 A. Yes.
Q. Should you have been made aware of that 11 Q. This has been marked Exhibit 3. This is an
statement? 12 Allegheny County Bureau of Correctiohs Jail
A. Should I have been? 13 Healthcare Services document. 1 believe this
Q. Yes. 14 was the same document you were referring to at
A. 1 mean, I don't know that lt -- 15 the beginning of the deposition; correct?
Q. If Mr. Or|ando made the statement I'm going to 16 A. \'es.
hang myse|f, should you have been made aware of 17 Q. That's the one that you reviewed in preparation ;
it? 18 correct?
A. The only reason I'm taking so long ls because he 19 A. Yes.
was already in the restraint chair, so I'm not 20 Q. Is this the normal form that you fill out during
sure they thought -- 1 though the answer to the 21 the intake process?
question that he wanted to hurt himself was a 22 A. This is what we fill out if they go in a suicide
yes just because he said we. So even though I 23 gown or a restraint chair.
didn't hear him and no one told me that he said 24 Q. Do you recall if you diled this form out that
he wanted to harm himself, 1 already marked yes 25 night?

 

 

 

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41
A. Oh, yes. 1 Inmate shouting that we are all going to die. 42
Q. At the top of the form it says Or|ando,` John. 2 First, where did you get that information?
Is that your handwriting? 3 A. From him.

A. Yes. 4 Q. 50 you heard him screaming that he hopes he dies

Q. Date and time it says March 24th, 2016, 2230, 5 in here?
and that‘s actually the exact same time written 6 A. 1 must have.
on Exhibit 2. Is this reflective of the time 7 Q. That statement, do you take it as a suicide
that you filled out this form or the time that 8 threat?
the incident occurred? 9 A. Well, yes. 1 mean 1 took this whole -- 1 took

A. This was probably going by the clock on the 10 the whole thing as he was suicida|.
little -- on the panel on the wall. So the time 11 Q. You also heard him shout that we are ali going
1 was filling out -- because usually 1 will like 12 die?
look over the thing as 1 was filling it out. 13 A. Yes.

Q. So that was the time that you were filling this 14 Q. And that's what you testined to earlier;
form out? 15 correct?

A. Yes. 16 A. Yes.

Q. Okay. And it's just a coincidence that it's the 17 Earlier you testified that you didn't believe
same time as Exhibit 2 1 guess? 18 that you heard him say that he was going to die;

A. Yeah. I don't know whoever wrote this thing, 19 correct?
what he was doing at the moment. 20 A. Yes.

Q. So the drst section here says does the inmate 21 Q. Do you want to change that testimony now?
have any injuries? If yes, explaln. And then 22 A. Well, 1 guess 1 have to, yes.
you wrote, 1 beiieve, I/M? 23 Q. The next line says inmate has possible seizure

A. That's inmate. 24 history.

Q. Inmate screaming he hopes he dies in here. 25 Where did you get that from?

43 44

A. Part of the questions, 1 drugs cause concern medically?

Q. So when you asked him that question he answered 2 MR. BACHARACH: I object to the form,
yes? 3 but you can answer if you understand.

A. No, 1 think he actually said possibly. 4 BY MR. TERZIGNI:

Q. Does that response, having a seizure history, 5 A. 1 -- I mean -- I would be concerned, yes.
does that affect his ability to be medically 6 Q. Why is that?
cleared? 7 A. I mean that's a lot of medications.

A. No. 8 Q When an inmate such as Mr. Or|ando is on these

Q. Going to the next section, does the inmate have 9 medications, Klonopin and Xanax, I'm assuming
any medical issues, you wrote inmate states back 10 they're prescription?
issues and mental health issues, states he is on 11 A. They can be.

Klonopin, Xanax, Fentanyi patch? 12 How would an inmate go about getting those

A. Yes. 13 medications?

Q. Does that response of having back issues, mental 14 MR. BACHARACH: I object to the form.
health issues and being on Klonopin, Xanax and a 15 Do you mean getting the medications from where?
Fentanyi patch affect an inmate's ability to be 16 Do you mean in the jail?
medically cleared? 17 MR. TERZIGNI: Ves.

A. No. 18 BY MR. TERZIGNI:

Q. Is it concerning or was it concerning that 19 A. He wouldn't. We detox off of those.

Mr. Or|ando was on Klonopin, Xanax and a 20 Q. Are drugs like Klonopin, Xanax and a Fentanyi
Fentanyi patch? 21 patch, those are medications that you have
MR. BACHARACH: 1 object to the form. 22 physical withdraws from?
You can answer. 23 A. Yes.
BY MR. TERZIGNI: 24 Q. Are there also mental health symptoms from
Q. The better question ls does that combination of 25 withdrawing from medications like that?

 

 

 

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4 46
A. I'm not really a mental health nurse. Anxiety. 5 1 Q. Is that part of the intake process?
Q. Did you actually see Mr. Or|ando's Fentanyi 2 A. Not part of the intake. Once he gets through
patch? 3 the front part and sees the judge and then goes
A. No. 4 in the back and answers the three-page, then all
Q. 50 you didn't take Mr. Or|ando's Fentanyi patch 5 that starts.
ofi'°.»' 6 Q. When you say all that, what do you mean?
A. No. 7 A. Well, you know, he answers the questions, you
Q. Is that something that is done by another nurse 8 know, they ask you what medications you're on
do you know? 9 specificaliy, what medical disorders you have,
A. We're hot allowed to undress them. 10 allergies, then they refer you to a mental
Q. 1 think 1 asked you this already, but I just 11 health specialist who then sees you and then
want make sure, the medical issues listed in 12 determines whether you can be housed wherever or
that section, back issues, mental health issues 13 if you have to go to 5-C or if you have to go to
states that he is on Klonopin, Xanax, a Fentanyi 14 just the detox unit and get your detox meds.
patch, that didn't affect his designation as 15 Q. Okay. The next section says intake will contact
being medically cleared? 16 medical or mental health for any change in
A. No. 17 status or for any requests.
Q. Why not? 18 A. Wait, where?
A. Because when you go through the process you get 19 Q. In the middle of the page here (indicating).
the -- you see the mental health specialist, you 20 A. Oh, okay. 1 thought you meant I wrote that.
get the detox meds. 21 Q. Then it says inmate is cleared for segregation
Q. 50 he was -- Mr. Or|ando was supposed to see a 22 and then your name is right there. Is that your
mental health specialist? 23 handwriting?
MR. BACHARACH: 1 object to the form. 24 A. It is.
BY MR. TERzIGNI: 25 Q. What does that mean, inmate is cleared for
47 48
segregation? 1 Q. 50 if Mr. Or|ando is removed from the chair by
A. That means that they can put him in a cell by 2 corrections eight hours later and not placed in
himself, which they would have to any way 3 a suicide gown, he would have no suicide
because he's in a chair. Like he wouldn't have 4 precautions; correct?
other inmates milling around him. 5 A. If he wasn't put in a suicide gown, no.
Q. In what instance would an inmate not be cleared 6 Q. Should he have been placed in a gown after being
for segregation? 7 removed from the chair in your opinion?
A. Pregnant girls. 8 A. It's so hard for me to answer because I don't
Q. What about somebody that's suicida|? 9 know how he was presenting when he got out of
A. No, that's -- 10 the chair or if he spoke to anyone or if -- 1
Q. 5egregation? 11 don't know who was there.
A. Yeah. I mean you don‘t want them in the midst 12 Q. Even if he's presenting fine, given his earlier
of other inmates when they're wearing a suicide 13 statements that he wants to die, would that
gown or in a chair. 14 cause him to be placed or should he have been
Q. And you did not talk to Mr. Or|ando again after 15 placed in a suicide gown after being removed
he was removed from the chair; correct? 16 from the chair?
A. Correct. 17 MR. BACHARACH: 1 object to the form.
Q. Would that have been another nurse? 18 I object to the hypothetical. It's incompletel
A. Yeah. 19 But you can answer if you can without
Q. Does an inmate have to talk to a nurse before 20 speculating.
being removed from a chair? 21 BY MR. TERZIGNI:
A. No. 22 A. The only people that can clear somebody from
Q. 50 who makes the decision to remove an inmate 23 suicide precautions is a mental health
from a chair? 24 specialist. 1 can't take someone out of a
A. Corrections. 25 suicide gown. you know whatI mean? 50 1 don't

 

 

 

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50
know who spoke to him, 1 don't know if he did 49 1 them safe you put them in a suicide gown.
speak to a mental health -- 1 don't know at what 2 Q. Okay. But if a suicide gown isn't put on the
point he was -- was he ever in a gown? 3 inmate, how are you keeping that inmate safe?
Q. No. 4 A. I mean, like 1 said, wasn't there.
A. Okay. See, 1 didn't even know that, 5 Q. Is the answer you're not keeping that inmate
Q. You said the only person that could remove 6 safe?
someone from suicide precautions is a mental 7 MR. BACHARACH: I object to the form.
health -- 8 Bv MR. TERzlGNI:
A. From a suicide gown. Corrections can take you 9 Q. Was Mr. Or|ando kept safe when he was taken out
out of a chair. 10 of the restraint chair and not given a suicide
Q. So what's the difference between a chair and the 11 gown?
suicide gown, if you know? 12 MR. BACHARACH: 1 object to the form.
A. The chair -- if you calm down and you're 13 ‘(ou can answer if you can,
cooperating, they take you out of the chair as 14 BY MR. TERZIGNI:
soon as possible because they want you to be 15 A. 1 don't feel it's a fair question to ask me, 1
able to walk around a little bit and not be 16 wasn't there, 1 don't know.
restrained, but still keeping you safe from 17 Q. Knowing what you know, that Mr. Orlando was
doing anything to yourself as well. 18 screaming he hopes he dies in here --
Q. How so? 19 A. If he was acting like this, then he should have
A. Because you can't -- you can't really hurt 20 been in a suicide gown.
yourself. How are you going to do anything to 21 Q. Eight hours later?
yourself in a restraint chair? 22 A. ¥es, if he was still making these comments --
Q. \'ou said while keeping them safe when they're 23 Q. What if he wasn't?
out of the chair; right? 24 A. If he wasn't --
A. Well, if you get out of the chair, then to keep 25 Q. Is there any more a suicide concern?
51 52
A. If he wasn't -- if he recant$ and says, no, I'm 1 at the door.
not going to hurt myse|f, no, they probably 2 A. Yes.
don't have to put him in a suicide gown. 3 Q. And this is right after the new inmate comes in,
MR. TERZIGNI: Just give me a couple 4 the police or whoever brings them in?
minutes. 1 think I'm pretty much done. 5 A. Ves.
- - - - 6 Q. And 1 think you said that at some point in time
(Whereupon, there was a brief pause in 7 there's an arraignment?
the proceedings.) 8 A. Yes.
- - - - 9 Q. And at that point somebody, a judge makes a
MR. TERZIGNI: 1 don't have anything 10 decision whether they're staying or going?
else. 11 A. Correct.
- - - - 12 Q. If they stay, is there an additional medical
EXAMINATION 13 procedure that's done at intake before they
- - - - 14 would go upstairs?
BY MR. BACHARACH: 15 A. Yes.
Q. 1 do have a couple questionsl There was mention 16 Q. Just generally can you describe what's done?
of a Fentanyi patch. Are inmates allowed to 17 A. After you see the judge you go into the back
have Fentanyi patches in the jail? 18 area, you get your picture taken by the COs, you
A. No. 19 get a little card, it gets put over in a pile,
Q. 15 there a reason for that? 20 the nurse comes out, picks the card up they have
A. Because the patch -- they can take it off 21 therer you call out the inmate‘s name, they come
themselves and fold it up and put it in the 22 in, you make sure you're talking to the correct
doorway and then when the COs think the door is 23 inmate, you ask them are you on any medications,
locked, it's not and they can get out. 24 what are they specihcally, do you remember the
Q. You talked about the medical routine that you do 25 doses, sometimes you have to get their pharmacy

 

 

 

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4
and then you can call and find out what they are 53 1 that one way or another, whether what they're 5
and then you ask them their mental health 2 telling you is correct?
history, do you feel suicidal right now, have 3 A. We don't usually drug test anyone until we get
you ever made any prior attempts, if so, what 4 to the bigger process if we feel the need to
were they, allergies, there's a box at the end 5 verify that they're actually on those
where you can ask them is there anything 1 6 medications The females that come in who say
didn't ask you that you want to tell me, if 7 that they're pregnant and detoxing, we do make
they're female you ask about their periods, if 8 them pee in a cup and do a pregnancy test to
they have any of those issues, you ask 9 verify that they are pregnantl
specifically what they might be withdrawing 10 Q. As far as testing to verify if somebody says
from, and then if they say yes to the mental 11 they're oh heroin or something, is that test
health questions, they get a referral to the 12 done at the level you described?
mental health specialist and they get put back 13 A. No.
out in the pile and then she comes and gets 14 Q. Can you give some kind of estimate as far as the
them, if they say yes to the withdraw questions, 15 number or percentage of people who come into the
then you call their provider and they tell you 16 jail who either are by observation or indicate
what medications you are to give them. 17 verbally that they are on some type of drugs?

Q. This ls all alter you see them? 18 A. At least half of them.

A. Yeah, this is all after the -- 19 Q. ls it unusual or uncommon for people to come

Q. And this could be a short time or hours or even 20 into the jail being agitated and angry?
days later? 21 A. It's not unusual, no.

A. Hopeful|y not days, but it can be a while. 22 MR. BACHARACH: 1 don't have any other

Q. If an inmate tells you that they're on a 23 questions
particular drug when you were out front like you 24 ~ - - -
described, is there a way you have to confirm 25 RE-ExAMlNAnoN

55 56
- - - - 1 A. No, we doh't.

BY MR. TERZIGNI: 2 Q. You don't have access to those?

Q. 1 have just a few follow-up. You described like 3 A. No.

a second intake process after arraignment; 4 Q. You made the comment that hopefully that the
correct? 5 processing step is not days later?

A. Correct, but it's -- they don't refer to it as 6 A. Correct.
intake, they refer to it as processingl 7 Q Why did you say that?

Q. Okay, processing 8 A. I mean I wouldn't want to be sitting there for

A. Yeah. 9 days

Q. Did you work in processing? 10 Q. And by sitting there, do you mean intake?

A. ¥es. 11 A. Yes.

Q. When you are in processing, do you review that 12 You estimated that more than half of the inmates
inmate's first -- or those initial documents of 13 coming in are withdrawing or mention some form
the intake process? 14 of drugs --

A. 1 have rarely had access 1 certainly didn't 15 A. Yes.
have access -- well, you know, like 1 said. 16 Q. -- when they come into the jail; correct?

MR. BACHARACH: I'm going to object to 17 A. Correct.
the form because I'm not sure what documents 18 Q. Was your answer based on any scientihc study or
you're referring to. 19 statistics, anything like that?

BY MR. TERZIGNI: 20 A. No, that's just my ~~

Q. The intake procedure that you did, when an 21 Q. Just based on your observation?
inmate comes in you ask them questions about his 22 A. ‘/es.
or her medical history; correct? 23 Q. You made the comment thatl believe it was a lot

A. Those first initial questions? 24 of inmates are agitated or angry when they come

Q. Yes. 25 into the jail; correct?

 

 

 

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am ZIWM#@EH]MJ.LPLL lDJomummtt¢§D~fliQ H|MGEULU& FPM L%Qi'sz'$i
57 58
A. Correct. 1 Q. I know it wasn't surprising obviously by your
Q. And that's not unusual? 2 statement. Was it the norm?
A. No. 3 MR. BACHARACH: I object to the form.
Q. Was Mr. Orlando, that instance, unusual? 4 MR. TERZIGNI: That's okay, he made
A. No. 5 his objection, so you can answer.
Q. So for somebody to be in a restraint chair 6 BY MR. TERZIGNI:
yelling about dylng and killing himself, that 7 A. I mean it wasn't like every single inmate that
wasn't unusual? 8 came ln needed to be put in a restraint chair.
MR. BACHARACH: Object to the form. 9 Q. Or talking about killing themselves?
You can answer. 10 A. Or -- you know, it wouldn't surprise me one or
aY MR. TERZIGNI: 11 two a night, which in eight hours ls --
A. It's not unusual for someone to be that angry -- 12 Q. One or two inmates a night would talk about
Q Okay. 13 killing themselves?
A. -- that they're yelling. 14 A. ‘/es or even get into the Chair. Yeah, I mean
Q I'm talking about his situation, him coming in 15 maybe more talking about hurting themselves.
there and everything that happened with that 16 Q. Okay. That night that you did Mr. Or|ando's
instance, was that unusual? 17 intake, do you recall if there were other
A. No. I've had -- I've had inmates lunge for me, 18 inmates that mentioned --
I mean no, it's not unusual for them to come in 19 A. I don't know if there were others that
ready to, you know, fight. 20 particular night.
Q. 1 don't know if unusual or surprising, what the 21 MR. TERZIGNI: I think that's all l
right word is here, maybe is lt the norm for an 22 have.
inmate to be in the condition that Mr. Or|ando 23 MR. BACHARACH: I don't have anything
was in? 24 else. We’ll read it.
A. It wasn't surprising. 25 The court reporter ls going to type up
59 60
a booklet with all of what was said, and I'l| 1 coMMonEALTH oi= PENNsYLVANiA ) cERTIFIcATE
send it to you to read it. I'm sure she‘s 2 couNTY oF ALLEGHENY ) ss:
right, but I always like to send it to people 3 I, Beth E. Welsh, a Court Reporter and
just to make sure, 4 Notary Pub|ic in and for the Commonwealth of
'l'"HE COURT REPORTER: Would you like 5 Pennsy|vania, do hereby certify that the witness,
the full size or the compressed or e-mail? 6 TRICIA CORRADO, was by me first duly sworn to testify
MR. BACHARACH: 1 don't want the 7 to the truth, the whole truth, and nothing but the
compressed. 8 truth ; that the foregoing deposition was taken at the
THE COURT REPORTER: So just full size 9 time and place stated herein; and that the said
or electronic on|y? 10 deposition was recorded stenographically by me and
MR. BACHARACH: One full size and 11 then reduced to printing under my direction, and
electronic. 12 constitutes a true record of the testimony given by
THE COURT REPORTER: Do you want hard 13 said witness.
copies of the exhibits orjust e-mailed 14 I further certify that the inspection,
exhibits? 15 reading and signing of said deposition were NOT
MR. BACHARACH: E-mails fine. 16 waived by counsel for the respective parties and by
THE COURT REPORTER: Thank you. 17 the witness. I further certify thatI am not a
- - - - 18 relative or employee of any of the parties, or a
(Whereupon, the proceedings were 19 relative or employee of either counsel, and that I am
concluded at 4:12 p.m.) 20 in no way interested in this action.
s ~ » s 21 IN WITNESS WHEREOF, I have hereunto set my
22 hand and affixed my seal of office this 4th day of
23 June, 2018.
24
25 Notary Pub|ic

 

 

 

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61 62
COMMONWEALTH OF PENNS¥LVANIA ) E R R A T A 1 QUA|I|'Y COURT REPORTING
COUNTY OF ALLEGHENY ) 5 i~l E E T 7012 Kevin Drive
2 Bethel Pari<, PA 15102
I, TRICIA CORRADO, have read the foregoing pages 412.833.3434
of my deposition given on Friday, May 25, 2018, and 3
wish to make the following, if any, amendments,
additions, deletions or corrections: 4 June 4, 2018
5
TO: John A. Bacharach, Esquire
6 Allegheny County Law Department
300 Fort Pitt Commons Building
7 445 Fort Pitt Bou|evard
8 Pittsburgh, PA 15219
9 RE: DEPOSITION oF TRIcIA coRRADo
10 NOTICE OF NON~WAIVER OF SIGNATURE
11 Please have the deponent read her deposition
transcript. Ai| corrections are to be noted on the
12 preceding Errata Sheet.
13 Upon completion of the above, the Deponent must
affix her signature on the Errata Sheet, and it is to
14 then be notarized.
15 Please fonNard the signed original of the Errata
Sheet to Massimo Terzigni, Esquire for attachment to
16 the original transcript, which is in his possession.
17 Send a copy of same to me.
Please return the completed Errata Sheet within
18 thirty (30) days of receipt hereof.
In all other respects, the transcript ls true and 19 Beth E. Welsh
correct. Court Reporter
20
ccc Massimo Terzigni, Esquire
TRICIA CORRADO 21
Subscribed and sworn to before me this 22
day of , 2018.
23
Notary Pub|ic 24
QCR Reference No. BW2908 25

 

 

 

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(30:8)(62:13)
(24:12)
(55:15)(55:16)

ACLS (6:21)

acting (50:19)

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(24=21)(35=24)(41=6)
(43:4)(45:2)(54=5)

additional (52=12)
additions (61=4)
aH%ct (37=11)(37=16)
(43=6)(43:16)(45=15)
affirmative (10=14)
(35=10)(37=10)

afnx (62=13)

afnxed (60=22)

after (6=19)(18=18)

(20:9)(26=24)(47=15)
(48:6)(48=15)(52=3)
(52=17)(53=18)(53=19)
(55:4)

agency (5=23)

agRated (15=14)(30:10)
(54=20)(56=24)

ahead (22=12)

mcohol (8=20)(9:25)
(15=5)(38=7)(38=9)
(38=16)

ALLEGHENY uav)(2:16)
(5=18)(7=2)(8=5)(8=23)
(8=25)(9=11)(12=22)
(17=16)(22=25)(26=6)
(29=20)(33=12)(40=12)
(60=2)(61=1)(62=6)

aHeghenycounty (2=15)
allergies (46=10)(53=5)
aHovved (27=6)(45:10)
(51=17)

done (21=22)

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(18:20)(18=21)(19:1)
(19=4)(19:6)(19:9)
(27:8)(28:2)(28:5)
(38:10)(39:20)(39:25)
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(56:24)(57=12)

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(47;18)(54=1)
ansvver (4=15)(4=19)

(10;13)(14=18)(16=14)
(20=24)(22=6)(22=7)
(22=13)(22=14)(23=20)
(26=7)(35=14)(35=22)
(36=10)(36=13)(37=8)
(37=9)(39=21)(43=23)

 

(44=3)(48=8)(48=19)
(50=5)(50:13)(56=18)
(57=10)(58=5)

ansvvered (10=20)(14=5)
(16=18)(20=15)(21=17)
(21=19)(26=12)(28=12)
(28=17)(35=9)(43=2)

anmNeHng (14=13)
(25=22)

ansvvers (10=25)(16=7)
(36=20)(33=3)(46=4)
(46=7)

Anxiety (45=1)
anybody (28=20)(30=13)
(31=7)(39:6)

anyone (20=4)(32=6)
(48:10)(54=3)

anything (4=22)(11:17)

(12=14)(14=23)(15:16)
(35=13)(49=18)(49=21)
(51=10)(53=6)(56=19)
(59=23)
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appeared (30=10)
approxhnate (30=8)
Aer (5=19)

area (27=3)(32=19)
(32=20)(32=25)(52:13)
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(49=16)
arraigned
(32=11)
arraignment
(55=4)
Arrest (38=19)(38=23)
arresting (38=25)
arHval (26=11)

arHved (9=22)(12=22)
(26=21)

ask (4=14)(4=19)(9:9)
(9=23)(10=22)(14=4)
(15=4)(23=15)(28=21)
(29:15)(33=13)(35=25)
(46=8)(50=15)(52=23)
(53:2)(53=6)(53=7)
(53=8)(53=9)(55=22)
asked (20=14)(26=10)
(26=20)(26=23)(28=9)
(32=22)(33=14)(34=19)
(35:3)(35=7)(43:2)
(45=11)

askh\g (4=15)(8=11)
(35=25)(36=24)

as§gned (9=8)
asjstant (7:15)(17=25)
(18=3)
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authoth (16:11)
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(18=11)(18=16)

avvare (39=6)(39=11)
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(31:14)(31:22)
(22:18)
(44:9)
(62:15)
(19:2)
(53:4)

(34=2)(34=4)(34=8)
(35=20)(36=9)(43=22)
(44=2)(44=14)(45=24)
(48=17)(50=7)(50=12)
(51=15)(54=22)(55=17)
(57=9)(58=3)(53:23)
(59=7)(59=11)(59=16)
(62:5)

back (23=19)(31:21)
(36:4)(36:6)(43:10)
(43:14)(45:13)(46=4)
(52=17)(53=13)

based (20=11)(22=20)
(56=18)(56:21)

became (7=14)

begin (34=2)

beginning (40=15)
Behavior (17=17)
beHeve (8=13)(12=3)
(12=9)(12=24)(15=6)
(25=25)(26=10)(26=20)
(28=5)(40=13)(41=23)
(42=17)(56=23)
Benzodiazepines (15=10)
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behNeen (26=18)(49=11)
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bugged
Bquing
Bureau
(40=12)

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(40=7)(51=15)(55:2)

 

 

 

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(13=25)(16=13)(17=9)
(19=6)(19=9)(20=22)
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(22=12)(22=15)(25=23)
(28=22)(28=24)(30=14)

 

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caH (9=19)(19=21)(27=6)
(27=10)(52=21)(53=1)
(53=16)
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cahn (49=13)
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(48=14)

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cerdHcates (6:19)
cerdfy (60=5)(60:14)
(60=17)

chah' (13=1)(13=4)
(13=7)(13=23)(18=20)
(18=25)(19=7)(19=11)
(19=15)(19=19)(20=5)
(20=7)(20=10)(20=14)
(20=19)(21=4)(21=6)
(21=10)(26=15)(26=25)
(27=17)(28=3)(28=6)
(31=15)(32=7)(34=24)
(39=20)(40=23)(47=4)
(47=14)(47=16)(47=21)
(47=24)(48=1)(48=7)
(48:10)(48=16)(49=10)
(49:11)(49:13)(49:14)
(49=22)(49=24)(49=25)
(50=10)(57=6)(58=8)
(58=14)
chance
(40=8)
change (42=21)(46=16)
checked (12:16)(13=6)
(13=16)(31=15)(34=11)
(35=4)
checking
chest (24=5)

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clarification (27=22)
darwy (26=18)

dass (8=3)

dear (15=9>(23=23)
(23¢25)(48=22)

deared (34=12)(34=16)
(34=20)(34=25)(35=1)
(35=4)(35=15)(35=19)
(37=5)(37=12)(37=17)
(38=4)(43=7)(43=17)
(45=16)(46=21)(46=25)
(47=6)

chboard (9=22)

dock (41=10)

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coincidence (41=17)
conn (2=10)

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connes (16=7)(52=3)
(52=20)(53=14)(55=22)
conung (11=20)(56=13)
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conunendng (2=5)
conunent (25=10)(56=4)
(56=23)

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(60=1)(60=4)(61=1)
complain (24=4)
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conduded (59=20)
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(13=9)(19=21)
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(28=1)(28=7)(46=15)
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(4=1)(4=8)(29=7)(60:6)
(61=2)(61:21)(62:9)
conecuonal (26=16)
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(33=12)(40:12)(47=25)
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(62=11)
correcdy (14=6)
COS (9:19)(10:18)

(11=14)(11=15)(11=18)
(15=24)(32=4)(51=23)

(52=18)
counsel (60=16)(60=19)
COUNT¥ (1=n(2n6)

(5=18)(7=2)(3=5)(8=23)
(3=25)(9=11)(12=23)
(17=16)(22=25)(26=7)
(29=19)(33=11)(40=12)
(60:2)(61=1)(62=6)
couple (20=8)(51=4)
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CCMJRT (1=1)(2=2)(3=4)
(30=6)(36:7)(58=25)
(59=5)(59=9)(59=13)
(59=17)(60=3)(62=1)
(62=19)
covvorker
created
crhne (36=15)(36:16)
crystal (30=13)(30=14)
(31=9)(31=10)(31=11)
cup (54=8)

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(30=8)(41=5)

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deponent (62=11)(62=13)
deposed (4=10)
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(29=3)(33=3)(40:3)
(40=15)(60=8)(60=10)
(60:15)(61:3)(62=9)
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(44=19)(45:21)(46=14)
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(15=4)(32=21)(37=19)
(38:1)(54:7)

didn't (5:3)(18:8)(24:4)
(24=5)(24=6)(28=1)
(28=12)(39=1)(39=24)
(42=17)(45=5)(45=15)
(49=5)(53=7)(55:15)

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(42=1)(42=12)(42=13)
(43=13)

died (14=22)(14=24)
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difference (49:11)
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(33=14)(40=5)(40=9)
(40=13)(40=14)
documentation (4=25)
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(55=13)(55=18)

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(30=5)(34=16)(35=3)
(41=21)(43=5)(43=6)
(43=9)(43=14)(43=25)
(46:25)(47=20)

doesn% (37:10)(37=13)
D()N (7=8)(7=9)

done (16:2)(16=3)
(27=21)(29=8)(45=8)
(51=5)(52:13)(52=16)
(54=12)

door (9=20)(11:21)
(26=11)(26=21)(27:2)
(27=7)(27=10)(38=10)
(51=23)(52=1)

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doubt (19=25)(20=2)
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(49=13)
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drugs (9=25)(15=5)
(44=1)(44=20)(54:17)
(56=14)

dey (4=2)(60=6)

dunng (15=17)(22=1)
(22=3)(23=2)(28=10)
(40=20)

dying (57:7)

 

 

earner (14=1)(20=20)
(37=15)(42=14)(42=17)
(48=12)

 

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(20=17)(48=2)(50=21)
(58=11)

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(54=16)(60=19)
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(15=16)(51=11)(58:24)
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ednaHed (59=14)
EqnaHs (59=16)
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(31=11)(35=14)(39=23)
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(24=14)(25=19)(28=15)
(29=23)(30=21)(49=3)
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(19=20)(19=22)(41=6)
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(4=5)(10=11)(51=13)
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(14=15)(14=16)(15=13)
(16=5)(21=14)(37=8)
(50=15)(53¢3)(54=4)
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(48=12)(59=16)

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(26:20)(27:12)(31:10)
(34=13)(41=21)(42=2)
(55=13)(55=24)(60=6)
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(32=15)

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(20=23)(21=24)(33=15)
(33=17)(33:19)(35=21)
(40=20)(40:24)(41=2)
(41=8)(41=15)(43=22)
(44=2)(44=14)(45=24)
(48=17)(50=7)(50=12)
(55=13)(56=13)(57=9)

(5=14)(23=8)
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(62=7)

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(9=19)(9=25)(11=16)
(15=5)(15=9)(20=10)
(20=13)(20=18)(23=22)
(25=6)(25=9)(28=11)
(37=2)(39=10)(42=3)
(42=25)(44=15)(44=22)
(44=24)(44=25)(47=16)
(47=21)(47=24)(49=1)
(48=7)(48=16)(48=22)
(49=7)(49=9)(49=17)
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(13=21)(32=3)(39=3)
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(15=14)(18=23)(23=18)
(23=19)(28=22)(28=23)
(37=19)(37=24)(42=2)
(42=25)(45=19)(45=21)
(46=14)(49=25)(51=24)
(52=18)(52=19)(52=25)
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(17:6)(18:23)(18:25)
(19=3)(19:14)(20=11)
(32=7)(40:23)(47=14)
(48=3)(43=5)(48=6)
(48=15)(48=25)(49=3)
(49=9)(49=12)(50=1)
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(37=3)(37=9)(39=25)
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(18=2)(22=22)(22=24)
(23=14)(23=18)(23=21)
(24=15)(24=18)(32=21)
(43=11)(43=15)(44=24)
(45=1)(45=13)(45=20)
(45=23)(46=11)(46=16)
(43=23)(49=2)(49=8)
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(27=8)(28=23)(30=1)
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(35=12)(41=21)(41=25)
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(25=11)(25=14)(26=14)
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(6=10)(10=17)(24=13)
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(20=3)(20=5)(20=8)
(20=17)(33=23)(43=2)
(50=21)(53=20)(53=11)
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(10=13)(10=20)(10=25)
(11=1)(11=9)(11=13)
(11=20)(11=21)(16=4)
(16=7)(17:21)(18=4)
(18=6)(18=11)(19=14)
(19=18)(22=21)(23=14)
(24=13)(24:14)(24=17)

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(25=1)(25=7)(34=20)
(35=18)(37=11)(38=3)
(38=6)(41=21)(41=24)
(41=25)(42=1)(42=23)
(43=9)(43=10)(44=8)
(44=12)(46=21)(46=25)
(47=6)(47=20)(47=23)
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(13=19)(15=17)(15=21)
(16=2)(16=6)(16=20)
(18=18)(22=20)(23=8)
(23=13)(24=23)(25=6)
(26=10)(26=20)(30=2)
(31=4)(31=16)(34=11)
(34=13)(37=15)(40=21)
(46=1)(46=2)(46=15)
(52=13)(55=4)(55=7)
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(50=21)(53=21)(56=5)
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(9=24)(12=23)(13=10)
(18=24)(22:25)(26=7)
(27=20)(32=9)(40=12)
(44=16)(51:18)(54=16)
(54=20)(56=16)(56=25)
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(30=9)(41=2)(62=5)
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(39=17)(53=4)(56=4)
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(26=6)(28=11)(29=25)
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(34=16)(35=1)(35=3)
(36=22)(39=15)(42=9)
(44=5)(44=7)(44=15)
(44=16)(46:6)(46=25)
(47=12)(48:25)(50=4)
(56=8)(56=10)(57=19)
(58=7)(58=14)
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(32=2)(34=13)(47=2)
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(14=5)(14=7)(14=10)
(15=3)(15:21)(23:9)
(23=11)(24=1)(24=6)
(24=8)(25=2)(27=13)
(34=11)(34=13)(43=10)
(45=12)(46=9)(46=16)
(51=25)(52=12)(55=23)
lnedwaHy (21=23)
(23=23)(23=25)(34=12)
(34=16)(34=20)(34=25)
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(35=18)(37=5)(37=12)
(37=17)(38=4)(43=6)
(43=17)(44=1)(45=16)
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(44=7)(44=9)(44=13)
(44=15)(44=21)(44=25)
(46=8)(52=23)(53=17)
(54=6)

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lnental (17:20)(17=24)
(18=2)(22=21)(22=24)
(23=14)(23=21)(24=14)
(24=13)(24=23)(32=16)
(32=21)(43=11)(43=14)
(44:24)(45=1)(45=13)
(45=20)(45=23)(46=10)
(46=16)(48=23)(49=2)
(49=7)(53=2)(53=11)

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(30=9)(30=11)(31=14)
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(36:25)(54=4)

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(33=17)(33=19)(33=21)
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(16=6)(30=6)(38=19)
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(31=19)(40=25)(58=11)
(58=12)(58=16)(58=20)
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(60=4)(60=25)(61:24)
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(23=14)(27=19)(31=16)
(45=1)(45=8)(47=18)
(47=20)(52=20)

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(31=22)
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(7=10)(7=15)(8:22)

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onginal (62=15)(62=16)
ORLANDO (1=4H1194)
(12=14)(12=22)(12=25)
(13=3)(13=20)(13=22)
(14=4)(15=17)(20=18)
(23=23)(24=22)(25=10)
(25=14)(26=6)(26=8)
(26:15)(28=2)(28=10)
(28:17)(30:4)(30=9)
(31=4)(31=8)(36=25)
(38:19)(39=16)(41=2)
(43:20)(44=8)(45=22)
(47=15)(48=1)(50=9)
(50:17)(57:4)(57=23)
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(13=18)(20=9)(26=13)
(34=3)(34=10)(45=2)
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(14=17)(21=15)(37=9)
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(19=4)(21:4)(21=5)
(21=9)(27=8)(38:12)
(40=20)(40=22)(40=24)
(41=8)(41=12)(41=13)
(41:15)(48:9)(48=24)
(49:10)(49:14)(49=24)
(49=25)(50=9)(51:24)
(52=20)(52=21)(53=1)
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(20=22)(21=24)(22=15)
(35=20)(43=22)(44=2)
(44=14)(45=24)(48=17)
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(10=13)(14=15)(17=25)
(26=20)(26=23)(29=23)
(29=25)(33=22)(35=10)
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(21=13)(21=20)(23=11)
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(36=13)(36=16)(39=1)
(42=18)(46=6)(53=11)
(53=15)(54=6)(56=7)
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(11=5)(11=7)(11=10)
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(47=12)(49=23)(50=1)
(52=4)(52=23)(53=2)
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vvorkh1g (5=25)(23=6)
(25=13)

wound (24=4)(37=23)

 

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vvounds (10:4)(10=9)
written (3=9)(26:2)
(30=23)(41=5)

wrote (12:7)(41:19)
(41=23)(43=10)(46=20)

X

Xanax (15=7)(43=12)
(43=15)(43=20)(44=9)
(44=20)(45=14)

\(
year (6=4)(6=6)
years (6:11)(6=12)
yeHing (57:7)(57:14)
yet (11=4)(11=7)
yourseH (10=1)(10=23)
(14:16)(21=15)(37=9)
(49=13)(49=21)(49=22)

 

 

 

 

 

 

 

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